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 5
     Attorney for Defendant
 6   CHARLES HEAD
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                     )
11                                                 )
                           Plaintiff,              )        Case No.: CR. S-08-093 FCD
12                                                 )                  CR. S-08-116 FCD
                                                   )
13                                                 )        STIPULATION AND ORDER
                    v.                             )        RE: LIMITATION ON THE
14                                                 )        MAGISTRATE’S REVIEW OF THE
     CHARLES HEAD, et al.,                         )        RECORD AND PRIOR FILINGS
15                                                 )        RELATING TO THE BAIL HEARING
                           Defendants.             )        OF DEFENDANT CHARLES HEAD
16                                                 )
17          The United States of America, through Assistant U.S. Attorney Ellen V. Endrizzi, and
18   defendant Charles Head, through his counsel Scott L. Tedmon, hereby stipulate that as to the bail
19   motion and detention hearing set for April 8, 2010 relating to defendant Charles Head, the
20   Magistrate Judge presiding over the hearing shall only review and consider the following:
21          1. The pleadings, transcripts, docket entries, and pretrial service reports directly relating to
22   the current bail motion of defendant Charles Head pending before the Court.
23          2. Regarding prior detention hearings for defendant Charles Head, the Magistrate Judge is
24   specifically limited to reviewing the pleadings, transcripts, docket entries, and pretrial services
25   reports from the following prior detention hearings:
26                  March 21, 2008 - Central District of California
27                  April 3, 2008 - Eastern District of California
28          Other than what is specifically listed above, no pleadings, exhibits, documents, written

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 1   arguments, oral arguments, pretrial services reports, court orders, docket entries, or other material
 2   relating to defendant Charles Head shall be considered by the Magistrate Judge at the April 8, 2010
 3   hearing on the issue of detention.
 4          In the same regard, as it relates to past pretrial services reports, the Pretrial Services Office
 5   shall only provide the Magistrate Judge with pretrial services reports generated for the following
 6   detention hearings of defendant Charles Head:
 7                  March 21, 2008 - Central District of California
 8                  April 3, 2008 - Eastern District of California
 9          Any new pretrial services report prepared specifically for defendant Charles Head’s April
10   8, 2010 detention hearing shall only reference the past pretrial services reports listed above.
11   IT IS SO STIPULATED.
12   DATED: April 1, 2010                           BENJAMIN B. WAGNER
                                                    United States Attorney
13
                                                     /s/ Ellen V. Endrizzi
14                                                  ELLEN V. ENDRIZZI
                                                    Assistant U.S. Attorney
15
16   DATED: April 1, 2010                           LAW OFFICES OF SCOTT L. TEDMON
17                                                   /s/ Scott L. Tedmon
                                                    SCOTT L. TEDMON
18                                                  Attorney for Defendant Charles Head
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 1                                                 ORDER
 2          GOOD CAUSE APPEARING and based upon the above stipulation, IT IS HEREBY
 3   ORDERED that as to the bail motion and detention hearing set for April 8, 2010 relating to
 4   defendant Charles Head, the Magistrate Judge presiding over the hearing shall only review and
 5   consider the following:
 6          1. The pleadings, transcripts, docket entries, and pretrial service reports directly relating to
 7   the current bail motion of defendant Charles Head pending before the Court.
 8          2. Regarding prior detention hearings for defendant Charles Head, the Magistrate Judge is
 9   specifically limited to reviewing the pleadings, transcripts, docket entries, and pretrial services
10   reports from the following prior detention hearings:
11                  March 21, 2008 - Central District of California
12                  April 3, 2008 - Eastern District of California
13          Other than what is specifically listed above, no pleadings, exhibits, documents, written
14   arguments, oral arguments, pretrial services reports, court orders, docket entries, or other material
15   relating to defendant Charles Head shall be considered by the Magistrate Judge at the April 8, 2010
16   hearing on the issue of detention.
17          In the same regard, as it relates to past pretrial services reports, the Pretrial Services Office
18   shall only provide the Magistrate Judge with pretrial services reports generated for the following
19   detention hearings of defendant Charles Head:
20                  March 21, 2008 - Central District of California
21                  April 3, 2008 - Eastern District of California
22          Any new pretrial services report prepared specifically for defendant Charles Head’s April
23   8, 2010 detention hearing shall only reference the past pretrial services reports listed above.
24   IT IS SO ORDERED.
25
26   DATED: April 2, 2010
27                                                  FRANK C. DAMRELL, JR.
                                                    UNITED STATES DISTRICT JUDGE
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